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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF KANSAS

ANGELIINA LYNN LAWSON,
Plaintiff,
V.
KANSAS DEPARTMENT FOR CHILDREN AND FAMILIES,
KANSAS ATIORNEY GENERAL'S OFFICE,
AMANDA MIRANDA AND HEATHER DUNZ, in their individual and official capacities,
Defendants.

Civil Action No. _2:25-cv-02171
                   _ _ _ __
                                                                    JURY TRIAL DEMANDED

COMPLAINT FOR DAMAGES, DECLARATORY, AND
INJUNCTIVE RELIEF
PRELIMINARY STATEMENT
     1. This is a civil rights action brought under 42 U.S.C. § 1983 to redress systemic violations
        of the Fourteenth and First Amendments to the United States Constitution committed
        by the Kansas Department for Children and Families (DCF) and the Kansas Attorney
        General's Office.
     2. Plaintiff Angeliina Lynn Lawson, a non-offending natural parent, was denied access to
        material records, abuse disclosures made by her child, and procedural fairness by state
        actors who had a duty to protect the rights of both parent and child.
     3. Defendants engaged in evidence concealment, coercive isolation of a child witness,
        retaliation, and systemic exclusion of Plaintiff in matters involving the safety and
        welfare of her son.
     4. Plaintiff further alleges that her custodial rights were actively sabotaged by the child's
        father in coordination with court actors while Plaintiff was deprived of any meaningful
        opportunity to respond.
     5. Plaintiff seeks monetary damages, declaratory judgment, injunctive relief, and other
        remedies to prevent future constitutional violations against similarly situated parents and
        children.



JURISDICTION AND VENUE

     6. This Court has jurisdiction under 28 U.S.C. § 1331 and 1343(a)(3) as this action arises
        under the Constitution and laws of the United States.
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  7. Venue is proper in the District of Kansas under 28 U.S.C. § 139l(b), as the events
     occurred within this judicial district and involve Kansas state agencies headquartered
     therein.

PARTIES
  8. Plaintiff Angeliina Lynn Lawson is a resident of Leavenworth County, Kansas, and the
       legal custodial mother of a minor child.
  9. Plaintiff brings this action on behalf of herself and as next friend of her minor child,
       D.L., who suffered psychological trauma as a direct result of Defendants' conduct.
  l 0. Defendant Kansas Department for Children and Families (DCF) is a state agency
       responsible for child protection investigations.
  l l. Defendant Kansas Attorney General's Office oversees compliance with Kansas laws,
       including KORA.
  12. Amanda Miranda and Heather Dunz are state officials responsible for executing,
       concealing, or failing to remedy the conduct described herein.

FACTUAL BACKGROUND AND CONSITUTIONAL INJURY

  13. Plaintiff's son made serious disclosures to DCF, including:
      • His father lied to police during an abuse investigation.
      • His father threatened suicide if the child continued taking his prescribed medication.
      • The GAL threatened the child, stating that if he testified truthfully, it would "get
      worse" for his mother in court.
  14. These disclosures were documented in DCF internal records but were concealed from
      Plaintiff, despite her legal status as non-offending parent and ADA advocate.
  15. Plaintiff filed a formal Kansas Open Records Act (KORA) request to obtain complete
      abuse records.
  16. In response, DCF produced incomplete, redacted, and misleading records, failing to
      disclose critical abuse reports.
  17. DCF falsely identified three closed investigations, while KORA records listed only one
      closed and one pending, with no explanation for the omitted case.Plaintiff filed a formal
      Kansas Open Records Act (KORA) request for full records and abuse documentation.
  18. DCF produced redacted and incomplete records, omitting disclosures critical to the
      child's safety and Plaintiff's right to legal action.
  19. DCF shared confidential records with non-appointed third parties but refused to release
      them to Plaintiff.
  20. Plaintiff filed a KORA complaint with the Kansas Attorney General's Office, which
      summarily denied any wrongdoing by DCF, despite documented omissions and
      concealment.
  21. Plaintiff was also subjected to retaliation and obstruction by DCF staff in response to
      her protected activity.
  22. At no point did the state engage in a meaningful, fair, or transparent process to allow
      Plaintiff to protect her child or respond to the concealed allegations and omissions.
  23. Plaintiff's exclusion from proceedings involving the care, safety, and custody of her
      child, and the state's refusal to disclose known abuse disclosures, deprived her of the
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       pnxx"duml gua.ra.ntce. affi nn~d in Go.,. .
   24. During thi period. the child's father and legal representatives manipulated court acceu
       and initiated a campaign to de facto terminate Plaintifrs parental rights, while state
       oflicials denied Plainti ff access to critical disclosures.
   25. Plaintitr s child became medically diagnosed with trauma caused by prolonged
       psychological coercion. isolation~and institutionaJ neglect.
   26. These events inflicted irreparable harm, including emotional collapse, somatic
       symptoms (nosebleeds, insomni~ stomach pain, headaches, signjficant weight loss), and
       hopelessness.

CLAIMS FOR RELIEF

COUNT I - VIOLATION OF FOURTEENTH AMENDMENT (DUE
PROCESS)
(Against All Defendants, Under 42 U.S.C. § 1983)

  27. Plaintiff incorporates all prior paragraphs.
  28. Plaintiff holds a fundamental liberty interest in the care, custody, and management
      of her child under Santosk), v. Kramer, 455 U.S. 745 (1982).
          a. Defendants deprived Plaintiff of due process by:
              • Failing to notify her of abuse disclosures;
              • Concealing or falsifying investigation records;
              • Enabling judicial actions to proceed without her involvement;
              • Refusing to disclose abuse records while communicating with unauthorized
              parties.
          b. These acts resulted in constitutional injury to both Plaintiff and her son.
  29. Defendants' concealment of abuse disclosures, isolation of a child witness, and denial of
      participation to the protective parent, amount to a deprivation of liberty interests
      protected by the Fourteenth Amendment, including:

          • The child's right to bodily integrity,
          • The parent's right to protect their child,
          • And both parties' right to be free from state-enabled coercion and psychological
            injury.

  30. These violations were not merely negligent but deliberate, sustained, and causally
      connected to the constitutional hanns suffered.
  31. Plaintiff further alleges that the father of the minor child, in coordination with court
      actors, exploited Plaintiff's exclusion from proceedings to initiate.legal efforts to
      tenninate her parental righ:!;s - while DCF and the GAL continued to conceal abuse-
      related disclosures. The totality of these actions deprived Plaintiff of her constitutional
      right to maintain a relationship with her child and contributed to what amounts to the
      coercive alienation of custody.
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            •   Santosky v. Kramer. 455 U.S. 745 ( 1982): Parents have a fundamental liberty
             interest in the care and custody of their children.
           • Troxel v. Granville, 530 U.S. 57 (2000): Parental rights are among the oldest
             fundamental liberty interests recogniz.ed by the Court.
           • Goss v. Lopez, 419 U.S. 565 (1975): Even temporary deprivation of protected
             interests requires notice and a fair hearing.



 COUNT II - VIOLATION OF FIRST AMENDMENT (RETALIATION)

(Against DCF and Individual Officials, Under 42 U.S.C. § 1983)

   32. Plaintiff engaged in protected activity by filing KORA requests, seeking transparency,
       and objecting to exclusion from her son's case.
           a. DCF officials responded with:
                • Harassment, redactions, and denials;
               • Exclusion from court-related access;
               • Obstructive and retaliatory communications.
   33. These acts chilled Plaintiff's right to petition the government and advocate for her
       child.
   34. Plaintiff's conduct-filing grievances, public record requests, and legal objections-is
       protected under Hartman and Worrell. The state's redactions, refusals, and retaliatory
       omissions were adverse actions designed to chill her advocacy.
           • Hartman v. Moore, 547 U.S. 250 (2006): Retaliation for petitioning government
               is actionable even when initiated by state officials.
           • Worrell v. Henry, 219 F.3d 1197 (10th Cir. 2000): Plaintiff must show protected
               activity, adverse action, and causal connection.



COUNT III - MONELL CLAIM FOR CUSTOM, POLICY, OR PRACTICE
(Against DCF and AG's Office, Under 42 U.S.C. § 1983)

   35. The violations were not isolated but the result of a widespread pattern and official
       practice of:

       • Concealing child abuse reports.
       • Retaliating against parents who assert their rights;
       • Failing to enforce internal grievance protections.
   36. These systemic failures constitute a custom or policy of violating federal constitutional
       rights, actionable under Monell v. New York Dept. ofSocial Services, 436 U.S. 658
       (1978).
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    37. The consistent refusal by DCF and the AG to investigate or disclose abuse, even after
        Plaintiff filed fonnal KORA complaints, evidences deliberate indifference under Bryan
        County, and constitutes a systemic failure of oversight actionable under Monell and
        Pembaur.
        • Pembaur v. City of Cincinnati, 415 U.S. 469 (1986): A single decision by a final
            policymaker may trigger Monell liability.
        • Bryan County v. Brown, 520 U.S. 397 (1997): Failure to train or supervise can
            establish Monell liability when it amounts to deliberate indifference.



COUNT IV - DEPRIVATION OF BODILY INTEGRITY AND STATE-
CREATED DANGER
(Against All Defendants, 42 U.S.C. § 1983)

   38. Under DeShaney v. Winnebago, 489 U.S. 189 (1989), and Currier v. Doran, 242 FJd
       905 (10th Cir. 2001), state actors may be held liable for affirmatively creating danger.
   39. Defendants concealed abuse disclosures, failed to act on credible risk, and enabled court
       actors to manipulate and isolate the child.
   40. The child was subjected to coercion, psychological injury, and irreparable harm,
       including threats by state-appointed guardians.
   41. Moreover, Plaintiff's child was subject to coercive pressure by court-appointed actors,
       including the Guardian Ad Litem (GAL), who threatened that testifying truthfully about
       abuse would result in harm to his mother. This intimidation constitutes a violation of the
       child's and the parent's Fourteenth Amendment rights to be free from state-facilitated
       retaliation and fear.
   42. These harms were foreseeable and directly caused by Defendants' deliberate
       indifference.
   43. As in Armijo, Defendants knowingly placed the child in a position of danger and then
       failed to act, despite having direct knowledge of abuse-related disclosures. Their conduct
       created and exacerbated risk to bodily and psychological integrity.

       • Armijo v. Wagon Mound Public Schools, 159 FJd 1253 (10th Cir~19.98): State actors
         liable when they place a vulnerable individual in known danger witli foreseeable
                                                                          .,(,     I

         harm.
       • Schwartz v. Booker, 702 FJd 573 (10th Cir. 2012): State officials may pot induce
         reliance on misleading information while concealing risk.       f f




PRAYER FOR RELIEF
A. Declare that Defendants violated Plaintiff's and her child's constitutional rights under the
First and Fourteenth Amendments;
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B. Award compensatory damages for emotional distress, loss of parental rights, and hann to the
child;
C. Award special damages for the child's psychological and physical injuries, supported by
medical diagnosis;
D. Award punitive damages against individual officials for willful misconduct;
E. Grant injunctive relief requiring:

    1. Full release of all DCF records;
    2. Prohibition on withholding abuse disclosures from non-offending parents;
    3. Implementation of grievance protocols to safeguard due process in child protection cases;

F. Appoint a federal monitor or special master to oversee compliance;
G. Award costs and attorneys' fees under 42 U.S.C. § 1988;
H. Grant any further relief the Court deems just and necessary.



JURY DEMAND

Plaintiff demands a jury trial on all claims so triable.




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